                                   Gail S. Greenwood               May 23, 2023                  ggreenwood@pszjlaw.com




S A N F R A N C I S C O, C A
L O S A N G E L E S, C A
W I L M I N G T O N, D E
N E W Y O R K, N Y                 Via ECF
H O U S T O N, T X

ONE SANSOME STREET                     Hon. Paul R. Warren
34th FLOOR, SUITE 3430                 U.S. Bankruptcy Court
SAN FRANCISCO                          Western District of New York
CALIFORNIA 94104
                                       100 State Street
TELEPHONE: 415.263.7000
                                       Rochester, NY 14614
FACSIMILE: 415.263.7010


                                              Re:      In re Rochester Drug Cooperative, Inc.
LOS ANGELES
10100 SANTA MONICA BLVD.
                                                       Adv. Pro. No. 22-2073
13th FLOOR
LOS ANGELES                        Dear Judge Warren:
CALIFORNIA 90067-4003

TELEPHONE: 310.277.6910                    This letter is sent jointly, on behalf of counsel for Advisory
FACSIMILE: 310.201.0760
                                   Trust Group, LLC (the “Trustee/Plaintiff”) and the former directors
                                   (the “Defendants”) in the above-referenced adversary proceeding.
DELAWARE
919 NORTH MARKET STREET
                                   The parties want to pursue a mediation after three fact witness
17th FLOOR                         depositions per side, but before the completion of all depositions.
P.O. BOX 8705                      Based on current schedules and despite vigorous efforts, the parties
WILMINGTON
                                   are unable to proceed with the six depositions and participate in
DELAWARE 19899-8705
                                   mediation on a schedule that preserves the current trial dates.
TELEPHONE: 302.652.4100

FACSIMILE: 302.652.4400
                                   Therefore, in order to meaningfully engage a mediator and allow
                                   sufficient time to prepare for trial, the parties respectfully request
NEW YORK                           that the Court approve the schedule below, including a continuance
780 THIRD AVENUE                   of the trial dates.1
34th FLOOR
NEW YORK
NEW YORK 10017-2024
                                             Subject to the approval by the Court, including the trial
TELEPHONE: 212.561.7700
                                              dates, the parties stipulate to extend the fact discovery
FACSIMILE: 212.561.7777                       deadline of July 1, 2023 solely for completion of noticed
                                              depositions until February 29, 2024. The parties also
TEXAS                                         stipulate that the Trustee/Plaintiff and the Defendants may
440 LOUISIANA STREET                          take more than ten depositions subject to the terms herein.
SUITE 900
HOUSTON
TEXAS 77002-1062

TELEPHONE: 713.691.9385            1
                                    Dates in bold reflect changes to the current Trial Scheduling Order [Docket No.
FACSIMILE: 713.691.9407
                                   87].

WEB:   www.pszjlaw.com
                                   DOCS_SF:108962.2 75015/003
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                           No later than June 15, 2023, the parties will select a
                            mediator, with each side proposing a maximum of three
                            candidates, with the cost of the mediator to be split 50% to
                            the Trustee/Plaintiff and 50% to the Defendants.
                           The mediator and a mediation date shall be agreed to and
                            confirmed by June 30, 2023.
                           Mediation shall take place in Manhattan, NY and shall occur
                            and be completed between October 25, 2023 and November
                            17, 2023. All parties and their counsel, and any participating
                            insurer and its counsel, must be present in person. The
                            Trustee/Plaintiff will propose mediation dates to the
                            Defendants’ counsel by June 1, 2023.
                           All fact witness depositions, including non-parties, must be
                            properly noticed by June 23, 2023 and served by June 30,
                            2023.
                           In advance of the mediation, between July 10, 2023 and
                            September 15, 2023, the Trustee/Plaintiff and the Defendants
                            may each take up to three depositions (for a total of up to six
                            depositions). Each side shall identify its deponents by June
                            21, 2023, and notice such depositions by June 23, 2023. The
                            parties will promptly confer to confirm a schedule for
                            completion of all such pre-mediation depositions between
                            July 10, 2023 and September 15, 2023, such that all dates
                            will be confirmed by June 30, 2023.
                           All remaining fact witness depositions noticed and served as
                            of June 30, 2023 shall commence after December 1, 2023
                            and shall be completed by February 29, 2023. The parties
                            will confer no later than September 29, 2023 to confirm a
                            complete fact witness deposition schedule so that all
                            remaining fact witness depositions shall occur during this
                            three month period.
                           The parties agree to extend the dates for expert discovery
                            such that: expert disclosures per 7026(a)(2) must be
                            exchanged by March 15, 2024; any expert reports intended
                            for rebuttal must be exchanged by April 15, 2024; and all
                            expert discovery must be completed by May 31, 2024.




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                           Trial is currently scheduled on April 23-26, 2024. The
                            parties request 4 days for trial between August 19, 2024
                            and September 13, 2024.
                           Unless otherwise indicated, all other dates set forth in the
                            Trial Scheduling Order remain in place.

                            We appreciate the Court’s consideration of these issues.

                                                   Very truly yours,


                                                   Gail S. Greenwood


                   cc: Warren B. Rosenbaum (wrosenbaum@woodsoviatt.com)
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